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         (

   MAY .27.2022
 U. S. DISTRICT COURT
EASTERN DISTRICT Of MO
        ST. LOUIS
                                             UNITED STATES DISTRICT COURT
                                             EASTERN DISTRICT OF MISSOURI
                                              _ _ _ _ _ _ _ _.DMSION


                                                                   )

       \V\'B~~ ~
                                                                   )
                                                                   )
             Plaintiff(s),                                         )
                                                                   )
         v.                                                        )       Case No.
                                                                                      -------
                                                                   )           (to be assigned by Clerk of District Court)
                                                                   )
                                                                   )
                                                                   )       JURY TRIAL DEMANDED
                                                                   )
                                                                   )          YES~          NoC
             Defendant(s). (Enter above the full name(s)           )
             of all defendants in this lawsuit. Please             )
             attach additional sheets if necessary .)              )


                                  EMPLOYN.CENT DISCRIMINATION COMPLAIN1:

                     I.      This employment discrimination lawsuit is based on (check only those that apply):


              ✓Tide VII of the Civil Rights Act of 1964, as amended, 42 U.S;C. §§ 2000e, et seq., ,for
                     employment discrimination on the basis of race, color, religion, gender, or nation&! origin.
                     NOTE: In order to bring suit in federal district court under Title VII, you must.first obtain
                     a right-to-sue letter from the Equal Employment Opportunity Commission.

               Age Discrimination in Employment Act of 1967, as amended, 29 U.S.C. §§ 621, et seq., for
               employment discrimination on the basis of age (age 40 or older).
               NOTE: In order to bring suit in federal district court under the Age Discrimination in
               Employment Act, you must first file charges with the Equal Employment Opportunity
             ✓ Commission.

             __ Americans with Disabilities Act of 1990, as amended, 42 U .S.C. §§ 12101, et seq.,
                for employment discrimination on the basis of disability.
                NOTE: In order to bring suit in federal district cow·t under the Americans with
                    Disabilities Act, you muYt first obtain a right-to-sue letter from the Equal Employment
                    Opportunity Commission
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✓ discrimination
  Rehabilitation Act of 1973, as amended, 29 U.S.C. §§ 701, et seq., for employment
                 on the basis      of a disability by an employer which constitutes a program or
     activity receiving federal financial assistance.
     NOTE: In order to bring suit in federal district court under the Rehabilitation Act of1973,
     you must first file charges with the appropriate Equal Employment Office representative or
     agency.

      Other (Describe)




                                         PARTIES

     2.     Plaintiffs name:\ . ' r \ 2 - - ~     §:)       ~\P:S
            Plaintiffs address:   ffi\6-\ \\ £Q ~ \ ME
                                       Street address or P.O. Box


                                       City/ County/ State/Zipod




     3.     Defendant's namre:Q \     \\'i: De        :St:\. N \~\~ _·\ __
            Defendant' s address:   BD§ ~ ' C ~ :C5S)~"3:~~ 3V\:-
                                       Street address or P.O. Box

                                     :3t   \ -::D\ \:'" S ~D
                                      City/County/State/ Zip Code
                                                                            \o2}\ D:':)


                                       .i\rea code and telephone number

NOTE: IF THERE ARE ADDITIONAL PLAINTIFFS OR DEFENDANTS, PLEASE
PROVIDJB: THEIR NAMES, ADDRESSES AND TELEPHONE NUMBERS ON A
SEPARATE SHEET OF P APJB:R.


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                   CK)~
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       4.      If you are claiming that the discriminatory conduct occurred at a different location,
please provide the following information:

(Street Address)                      ( City/County)                   (State)   (Zip Code)

        5.      When did the discrimination occur? Pkase give the date or time period:




                              AD}"1INISTRATIVE PR.OCEDURES

        6.      Did you file a charge of discrimination against the defendant(s) with the Missouri

Commission on Human Rights?

        hYes            Date filed: _ _ _ _ _ _ _ _ _ _ __

        _ R No

        7.      Did you file a charge of discrimination against the defendant(s) with the Equal

Employrn~mt Opportunity Commission or other federal agency?

        _&_Yes         Date filed:   h\,()\[ UX)Q:fi?
        _[:__No

        8.      Have you received a Notice of Right-to-Sue Letter?

                ~     Yes                               j       ' No

If yes, please attach a copy ofth,e letter to this complaint.

        9.      If you are claiming age discrimination, ,:.heck one of the following:

        _ _60 days or more have passed since I filed my charge of age discrimination with the

Equal Employment Opportunity Commission.

        _ _fewer than 60 days have passed since I fik:d my charge of age discrimination with the

Equal Employment Opportunity Commission.


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                             NATURE OF TID: CASE

 10.     The conduct complained. of in this lawsuit involves (check only those that apply):

         __ failure to hfre me

          Vi"ennination ofmy employment

         __ failure to pmmote me

         __ failure to accommodate my disability

         ~       nns and conditions ofmy employment differ from those:of similar employees

          V retaliation

             ✓ harassment
         __ other conduct (specify):




  Did you complain about this same conduct in your charge of discrimination?

         J5t_Yes




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        11.     I believe that I was discriminated against because of my (check all that apply):

                V      race

                       religion

                       national origin

                       color

                       gender

                 ~ disability
                       age (birth Y•~ar is:

                       other:



       Did you state the same reason(s) in your charge of discrimination?

               ~ Yes                                   _[~No         :S-02-. ~ C-Ur\Y\u__(tS
                                                                              c\;:>"'\
         12.     State here, as briefly and clearly as poBsible, the essential facts of your claim.
Describe specifically the conduct that you believe is discriminatory and describe how each defendant
is involved in the conduct. Take time to organize your statement; you may use numbered paragraphs
if you find it helpful. it is not nectissary to make legal arguments, or to cite cases or statutes.

                    ~~~
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              \)be_~~~'--~                     CA)



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                                                                     .




(Attach additional sheets as necessary).


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          13.     The acts set forth in paragraph 12 of this complaint:

                 ~ are still being committed by the defendant.
                  I ~ are no longer being committed by the defendant.
                 £_ may still be being committed by the defendant.
                                      }tEOUEST FOR RELIEF

          State briefly and exactly what you want the Court to do for you. Make no legal arguments;

              --:S: '--0<:Jt \J O U ~ ~ h _ - ~~D
   citenocasesorstatutes.

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                                                                    _
                                                                {?12-1,.              ~ \P,,t. , ~


          14.    Under Federal Rule of Civil Procedure 11, by signing below, I certify to the best of
 my knowledge, information, and belief that this complaint: (1) is not being presented for an
 improper purpose, such as to harass, cause unnecessary delay, or needlessly increase the cost of
 litigation; (2) is supported by ex:sting law or by a nonfrivolous argument for extending,
 modifying, or reversing existing law; (3) the factual contentions have evidentiary support or, if
 specifically so identified, will likely have evidentiary support after a reasonable opportunity for
 further investigation or discovery; and (4) the complaint otherwise complies with the requirements
 ofRule




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       I agree to provide the Clerk's Office with any changes to my address where case-related _

papers may be served. I understand that my failure to keep a current address on file with the Clerk's

Office may result in the dismissal of my case.

       I declare under penalty of pe1jury that the foregoing is true and correct.

                      Signed this G--7 day of_.,__-'---+-----'

                       Signature of Plaintiff    _- ~-..>-~~.c...~-~=--~:;::::,,,-~LJL.-J:)




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